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                              UNITED STATES DISTRICT COURT FOR

                                   THE DISTRICT OF COLUMBIA


MONTE SILVER and MONTE SILVER, LTD, an      ) Case No. 1:19-cv-00247-APM
Israel corporation,                         )
                                            )
                                            )
                           Plaintiffs,      )
       vs.                                  )
                                            )
INTERNAL REVENUE SERVICE; UNITED STATES ) Judge Amit P. Mehta
                                            )
DEPARTMENT OF THE TREASURY; CHARLES
                                            )
RETTIG, in his official capacity as         )
Commissioner of Internal Revenue; and       )
STEVEN MNUCHIN, in his official capacity as )
United States Secretary of the Treasury,    )
                                            )
                           Defendants       )


         PLAINTIFFS’ RESPONSE TO GOVERNMENT MOTION TO EXTEND DEFENDANTS’
                  TIME TO RESPOND TO THE FIRST AMENDED COMPLAINT


       1.       Plaintiffs seek a prompt resolution of this case and are committed to pursuing it

expeditiously. Viewed in that context, and recognizing that this case was filed almost one full

year ago, Defendant’s statement that they require an additional 62 days to “prepare an

adequate response” to the first amended complaint is troubling.

       2.       Plaintiffs plan to promptly present the case for decision under the procedure for

judicial review of agency action based upon the administrative record under Local Rule 7(n).

Obtaining the administrative record, which resides in defendants’ files, is essential. Nine

months ago, Plaintiffs served a single Rule 34 document request seeking production of the

administrative record. To date, defendants have refused to produce the record or otherwise

respond to the document request, insisting that the administrative record need not be

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produced until some time after they file an answer. That refusal currently stymies plaintiffs’

efforts to prepare and file a merits motion based upon the administrative record. Defendants’

action prevents plaintiffs from complying with the Local Rule 7(n) requirements concerning

submission of the administrative record and an appendix to the court within 14 days of filing

any motion on the merits.

       3.       Plaintiffs will be prejudiced if defendant’s instant motion for extension of time

further delays production of the administrative record because the delay impedes plaintiffs’

ability to file a merits motion and the appendix required by Local Rule 7(n). Accordingly,

plaintiffs urge the Court to condition allowance of the motion for extension upon defendants’

production of the administrative record within 14 days of the order granting the motion.

       A proposed order is attached.

DATED: January 8, 2020

                                                      Respectfully submitted,


                                                      /s/ Stuart J. Bassin
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